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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                    4:08CR3177
                                              )
              V.                              )
                                              )
JOHN DOUGLAS SUTTON,                          )                 MEMORANDUM
JOHN HENRY SUTTON,                            )                  AND ORDER
JULIUS DION SUTTON,                           )
MELODY ANN WINTERS,                           )
                                              )
                      Defendants.             )

       Julius Dion Sutton, through his counsel, has filed an unopposed motion requesting that
the date for filing pretrial motions be extended and that the trial be continued as a result. Co-
defendant John Henry Sutton has been sentenced. Co-defendant Melody Ann Winters is set
for sentencing. Co-defendant John Douglas Sutton is still scheduled for trial, along with
Julius Sutton. After consideration of the motion,


       IT IS ORDERED that:


       (1)    Julius Dion Sutton’s unopposed motion for continuance (filing 98) is granted.


       (2)    The deadline for filing pretrial motions for Julius Dion Sutton and John
Douglas Sutton is extended until the close of business on August 14, 2009.


       (3)    Trial of this case for Julius Dion Sutton and John Douglas Sutton is continued
until October 26, 2009, as the number two criminal case, before the undersigned United
States district judge, in Lincoln, Nebraska. Since this is a criminal case, the defendants shall
be present unless excused by the court.


       (4)    The time between today’s date and the new trial date is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161.
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     DATED this 24th day of July, 2009.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      United States District Judge
